          Case 2:18-cv-03299-CMR Document 22 Filed 11/02/18 Page 1 of 2



                         UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA



 IN RE: GENERIC PHARMACEUTICALS PRICING                            MDL 2724
 ANTITRUST LITIGATION                                              16-MD-2724


 THIS DOCUMENT RELATES TO:

 Humana Inc. v. Actavis Elizabeth, LLC, et al.,
 No. 18-cv-03299


                          PLAINTIFF HUMANA INC.’S MOTION
                     TO INCORPORATE ITS ACTION INTO THE MDL

         Plaintiff Humana Inc. (“Humana”), moves under 28 U.S.C. § 1407, Rule 16 and the Court’s

August 15, 2016 Pretrial Order No. 1 for an order that formally incorporates its action, Humana Inc.

v. Actavis Elizabeth, LLC et al., No. 18-cv-03299 (E.D. Pa.) (CMR), into the multidistrict litigation

currently pending before Your Honor as In re Generic Pharmaceuticals Pricing Antitrust Litigation, MDL

No. 2724.

         Humana’s motion is based on this Motion and the accompanying Brief in Support of

Motion to Incorporate Its Action Into the MDL, Declaration of Jason H. Kim, and Proposed

Order.

Dated: November 2, 2018                                 Respectfully submitted,

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Case 2:18-cv-03299-CMR Document 22 Filed 11/02/18 Page 2 of 2



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